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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                 Case Nos. 3:94cr3136/RV/CJK
                                                             3:14cv242/RV/CJK
BENNIE CLEVELAND WILLIAMS
_______________________________/

                                             ORDER

       This cause comes on for consideration upon the magistrate judge’s Report and
Recommendation dated May 28, 2014 (doc. 502). Plaintiff has been furnished a copy of the Report
and Recommendation and has been afforded an opportunity to file objections pursuant to Title 28,
United States Code, Section 636(b)(1). No objections have been filed.
       Having considered the Report and Recommendation, I have determined that the Report and
Recommendation should be adopted.
       Accordingly, it is now ORDERED as follows:
       1.      The magistrate judge’s Report and Recommendation is adopted and incorporated by
reference in this order.
       2.      Defendant’s motion to vacate pursuant to 28 U.S.C. § 2255 (doc. 501) is
SUMMARILY DISMISSED, as this court lacks jurisdiction to consider a successive motion absent
authorization from the Eleventh Circuit.
       3.      A certificate of appealability is DENIED.
       DONE AND ORDERED this1st day of July, 2014.



                                              /s/ Roger Vinson
                                              ROGER VINSON
                                              SENIOR UNITED STATES DISTRICT JUDGE
